                                                  EXHIBIT A

The following timeline is intended to be read in conjunction with Consolidated Plaintiffs’
First Amended Complaint and is expressly incorporated therein by reference; this
document provides a summarized account of the sequence of key events.

January 1, 2019: Justin emails Colleen about It Ends With Us book.1




April 11, 2019: When It Ends With Us author Colleen Hoover watched director Justin Baldoni’s
Five Feet Apart in theaters, she told Baldoni, “You are the right person to make this movie”
(referring to It Ends With Us).




1
 Due to international travel, some images may appear to reflect dates and times that vary from the local time when
messages were sent or received. In the interest of transparency, times and dates have been left unedited.


                                                         1
April 12, 2019: Hoover suggests Baldoni portray “Ryle” in the Film




May 8, 2019: Justin options the book It Ends With Us from Colleen Hoover

September 16, 2022: Baldoni connects with a representative from the nonprofit organization
“NO MORE,” which raises awareness and acts to end domestic and sexual violence, with the
intention of partnering on the Film. The representative followed up with an email to Baldoni
shortly thereafter.


                                               2
September 23, 2022: Wayfarer partners with Sony; their agreement includes, at Wayfarer and
Baldoni’s insistence, a requirement that 1% of the Film’s proceeds be donated in support of
survivors of domestic abuse. That 1% was ultimately earmarked for the organization “NO
MORE.”

December 31, 2022: Lively agrees to take the lead role of “Lily Bloom.”

January 13, 2023: Baldoni and Wayfarer develop marketing ideas for the Film. They share
these campaign ideas with Sony, including an idea for “Lily Bloom pop-up shops” nationwide,
each of which would provide access to resources and safe houses for domestic violence victims.
They also sought to partner with the non-profit “NO MORE,” which raises awareness and acts to
end domestic and sexual violence.




                                              3
January 22, 2023: Lively introduces Baldoni to her friend and celebrity trainer, who would later
become Baldoni’s trainer as well.

January 23, 2023: Baldoni and the trainer start collaborating, with the trainer delivering
Baldoni’s workout program on February 26.




                                                4
February 9, 2023: Lively and Baldoni exchange texts. She jokes with Baldoni that she is 20
pounds from her goal weight. Baldoni responds by disliking the message. Lively thanks Baldoni
for his friendship and support.




February 14, 2023: Baldoni begins writing and sending script revisions to Lively, all the while
also building rapport with his co-star and lead actress. Lively responds, “[y]ou’re safe here[.]”,
indicating he need not worry about his choice of words and could speak freely.



                                                 5
February 17, 2023: Lively shares her concerns with Baldoni about having her body ready for
the forthcoming sex scenes their characters would shoot, asking, “What’s the chance we can do
body scenes at the end of the schedule?” Baldoni tries to reassure Lively that she doesn’t need to
stress about her body and emphasizes his determination to work collaboratively with her to
ensure her comfort.




                                                6
February 26, 2023: Baldoni’s trainer provides him with a workout program.




February 28, 2023: Baldoni and Reynolds exchange text messages expressing mutual respect.




                                             7
March 29, 2023: Lively shares with Baldoni that she has strep throat, and Baldoni offers to send
her some “amazing gut health protocols that help after antibiotics.” Lively responds, “Please.”
As a result, Baldoni reaches out to his Board-Certified Integrative Holistic Health Coach and
connects them. Lively shares that they connected, saying, “She’s incredible.” Lively later
claimed in her CRD Complaint that this “health coach” was actually a weight-loss specialist and
that this was all a ruse for Baldoni to subtly fat-shame her.




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April 1, 2023: Blake shows up for in-person “chemistry reads” with potential co-stars to play her
love interest, Atlas. At the end of the day, Lively sends a message to Baldoni stating, “that was
fun yesterday…. What a great assembly of people[.]”




April 5, 2023: Baldoni hires an intimacy coordinator and texts Lively to coordinate a time for
them to meet. Lively declines to meet with the intimacy coordinator ahead of filming.




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April 7-8, 2023: Baldoni shares the updated script with Lively. Lively excitedly texts Baldoni
her thoughts on the pivotal Rooftop “meet-cute” scene, acknowledging its significance in the
story. She asks if she can take a pass at the dialogue, hoping to infuse more of her voice into the
character and make it more “flirty and yummy”. Baldoni welcomes her input, eager to see her
take on the moment and make the character hers. He waits for her notes.




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April 9, 2023: Lively shares her notes on the rooftop scene with Baldoni and follows up with a
text, eagerly awaiting his thoughts. Baldoni responds via voice note expressing his appreciation
for her passion and edits. While he likes her changes, he envisions the final version landing
somewhere between her take and the original.




April 12, 2023: Baldoni meets with Lively at her apartment in New York. He is greeted by
Lively’s husband, Ryan Reynolds, who enthusiastically praises Lively’s rewrites of the rooftop
scene, which she had sent on April 8, 2023. Hours later, as the meeting is ending, a mega-
celebrity friend of Reynolds and Lively walks into the room and also begins praising Lively’s
script.

April 13, 2023: Lively shares that she is ill again for the third time in one month. Baldoni asks if
she would like to speak to his health coach, whom he previously connected her with on March
29, 2023. He also offers to take it “one step further” by connecting her with his medical intuitive.
Lively later claimed that the health coach was “not what Mr. Baldoni had represented her to be”
and alleged she was a “weight-loss specialist.” She further claimed in her CRD Complaint that
this was yet another attempt by Mr. Baldoni to “shame her for her body and weight.”


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April 13, 2023: Baldoni asks Lively to send him the FDX file of the rooftop scene she worked
on. Lively emails him the file.




April 14, 2023: Baldoni and Lively text about script changes and enhancing dialogue for the role
of Lily Bloom’s mother, Jenny Bloom. Baldoni conveys he is happy for Lively to share her notes
but ultimately wants to run any changes by the scriptwriter, out of respect. Lively agrees. In the
wake of the meeting two days earlier in the presence of Reynolds and their mega-celebrity friend
– who Lively describes as her “dragons” in a lengthy text to follow. Baldoni feels obliged to text
Lively, saying that he liked her pages and hadn’t needed Reynolds and her mega-celebrity friend
to pressure him. Baldoni acknowledges Lively’s text about her “dragons”, and apologizes for not
responding right away. However, he promises to send her a more thoughtful voice note later that
evening when he gets home from his plans.


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April 14, 2023: Baldoni followed up with a voice note (as promised) responding to her text
about her “dragons”, and expressed his sincere apologies for not being more sensitive to her


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feelings when responding to her notes on the rooftop scene. He acknowledged how lucky she is
to have her husband and friends as her supporters. He also empathizes with Lively’s frustrations
in having faced situations in her career where she was overlooked or not made to feel like an
equal collaborator and hoped that their collaboration on this Film would set a new standard for
how she should be treated. Ultimately, Baldoni tried to convey that her thoughts are always
welcome and that he is excited to be working with someone of Lively’s caliber and all the value
she brings to this Film. He spends a considerable amount of time encouraging her and assuring
her that she is valued.

April 15, 2023: The next morning, Baldoni, ready to continue work, followed up his voice note
with a text message to share additional thoughts on the script. Lively responded, thanking him
for the thoughtful messages and promising to always do things in service of their “shared goals”.




April 20, 2023: Brandon Sklenar casting announcement.




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April 20, 2023: Concerns about Lively’s undue influence over the Film began to grow even
before filming started.




April 21, 2023: Baldoni meets with the intimacy coordinator to discuss how to shoot the sex
scenes. It was important to him that the intimacy coordinator be a woman to help craft sex scenes
that would speak to the book’s mostly female audience—i.e., be written from the “female gaze.”
His notes from this meeting are pictured below and were later shared with Lively during one of
their script-writing meetings at her New York apartment. These notes would later become the
basis for Lively’s Complaint, in which she states that Baldoni would talk about his own sex life
and insert gratuitous scenes with Lively’s character orgasming. As seen in the notes, these
mentions come directly from the intimacy coordinator’s notes— “goes down on her,” “orgasm,”
“foreplay,” “The clit test.” Ideally, these conversations would have taken place directly between
Lively and the intimacy coordinator directly, as Baldoni had requested; however, Lively declined
to meet with her, leaving Baldoni in the less than ideal position of having to relay these notes to
Lively in her penthouse.




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April 22, 2023: In preparation for a lift sequence in which Baldoni’s character “Ryle” would lift
Lively’s character “Lily”, Baldoni reached out to his personal trainer (a close friend of Lively’s)
to ask what Lively weighed so that he could train his back muscles for the scene. This was
important to avoid injury—not only to Baldoni, who has suffered from lifelong back injuries
(multiple bulging disks and chronic pain)—but also to Lively, if the lift could not be completed
successfully and safely. (script pages of the lift scene are included below). Lively, would later
claim in her complaint that this scene did not exist, however as evidenced by the script pages and
also a video in which Baldoni is rehearsing the scene with a body double the scene was very
real.




April 25, 2023: Baldoni was summoned by Lively to her penthouse and greeted by Reynolds,
who swore at Baldoni and accused him of fat-shaming his wife (“How dare you fucking ask
about my wife’s weight? What’s wrong with you?”). The tone from Reynolds and Lively was so
aggressive that Baldoni felt he had no choice but to offer repeated (and completely unwarranted)




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apologies for what was a good-faith and reasonable question to his trainer (not Lively). Reynolds
demanded that Baldoni remove the lift scene entirely.

In Lively’s Complaint, she falsely states that “the scene wasn’t even in the Film,” suggesting it
never existed. Contrary to her attempt to manipulate verifiable facts, the only reason the scene
was not in the Film is that Lively and Reynolds demanded it be removed, despite the fact that it
had already been rehearsed with a stunt-double. Accommodating Lively, Baldoni re-wrote the
scene with her despite the fact that, for creative reasons, he felt the scene was necessary.

Baldoni was stunned by Lively’s accusation because, when Lively had earlier expressed concern
about her postpartum figure on February 17, 2023, and February 24, 2023, Baldoni genuinely
reassured her that she “did not need to worry about her body.” In fact, it was Lively who insisted
that she be fit for the role, despite Baldoni’s assurances. In this meeting where Baldoni was
aggressively confronted by Reynolds and Lively, Lively told Baldoni that if he could not get on
board with how she works, “he still had 2 weeks to recast her.”

As Lively well knew at the time, it would be impossible to recast her without incurring millions
in expenses for a Film that was already half-shot. In addition to financial reprocussions, it would
cause the studio, and Baldoni, severe reputational damage, including their relationship with
Sony, the Film’s distributor, and financiers. Thus began a pattern of demands by Lively and
acquiescence by Baldoni. He opted to get on board for lack of a viable alternative.

April 25, 2023: The Line Producer on the Film shares concerns about the ballooning wardrobe
budget resulting from Lively’s takeover, stating that it was “way more than [she] had ever seen
wardrobe go over budget with the initial spend.” As mentioned in the Complaint, “the wardrobe
budget ballooned”.




April 27, 2023: Baldoni feels homesick; his family is back in California, and it has been weeks
since he has seen his kids. Lively offers to have Baldoni fly with her to Los Angeles and back for



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the weekend so that the two of them can continue working on the script—six hours there and six
hours back. By all accounts, Lively feels at ease with Baldoni and is not only willing but invites
Baldoni to share an airplane cabin with her and her children.




April 28, 2023: Baldoni flies to Los Angeles from New York with Lively and her family. For
the duration of the flight, Baldoni and Lively work on the script. On April 30, 2023, they return
together to New York.

May 1, 2023: Lively begins altering the script daily. The frequency of Lively’s revisions and
input alarms the producers, who anticipate that her interference would persist “every day of the
shoot” and disrupt the carefully planned production schedule.




May 2, 2023: The Writers Guild of America (“WGA”) went on strike.


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May 3, 2023: Lively and Baldoni text almost daily and were comfortable making silly jokes.




May 5, 2023: Wayfarer holds a “Respect in the Workplace” meeting via Zoom with the
production team to review appropriate on-set behavior and other HR-related matters before
principal photography begins. This is a standard part of pre-production and employee training.




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May 5, 2023: Baldoni emails the intimacy coordinator his notes on “sex scenes” after discussing
Lively’s comfort level with her. Justin emphasizes that “the way these are shot and what is
shown will be a ‘Collaboration between [Baldoni] and Blake.’”

Due to illness in Lively’s family, the Vegas shoot scheduled for May 8, 2023, was canceled.
Additionally, because of production delays and strikes, none of the outlined sex scenes were
Filmed during the May-June 2023 production window (“Phase 1”). These scenes were all
postponed to Phase 2 of production (January 5, 2024 - February 9, 2024), which resumed seven
months later.




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May 8, 2023: As production was set to begin its first days of shooting in Vegas, a member of
Lively’s family falls ill. Baldoni shares his prayers and wishes for their speedy recovery.
Meanwhile, production is left to manage the fallout and attempt to recoup costs from the
canceled shoot days.




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May 8, 2023: Lively’s attorney is provided with a Nudity Rider, in which Wayfarer includes the
intimacy-coordinator-approved Nudity Rider, followed by written confirmation of the approval.
(For clarity, providing the “intimacy-coordinator-approved Nudity Rider” serves as confirmation
that Lively and the intimacy coordinator discussed and mutually approved the sex scenes.)

Notably, the sex scenes scheduled for the week of May 8, 2023, had to be rescheduled multiple
times due to illness and subsequent strikes. As a result, they were ultimately Filmed in January
2024, meaning no sex scenes were shot during Phase 1 (May 15-June 27, 2023).




May 12, 2023: Lively and Baldoni work at her apartment, making final script changes ahead of
the first day of production on May 15, 2023.

May 15, 2023: Baldoni shares an encouraging message with Lively before day one of shooting.
Lively expresses gratitude for her collaboration with Baldoni.




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May 15, 2023: A “NO MORE” representative who attended the table read the day before shares
a message of encouragement with Baldoni. Baldoni is eager to establish a plan to ensure that the
Film has the greatest impact in supporting victims of domestic violence.




May 15, 2023: On the first day of principal photography, paparazzi capture and publish photos
of Lively in character, wearing her hand-picked wardrobe. These images were widely criticized
as unflattering and sparked a backlash from Sony.




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May 16, 2023: Baldoni approached Lively in her trailer to discuss necessary wardrobe
adjustments and his desire to have more control of wardrobe decisions going forward. Before
this meeting, Baldoni texted Heath, saying he was “terrified of saying the wrong thing” and
asked Heath to “send [him] prayers.”

The meeting lasted 1.5 hours, as noted in the “Daily Wrap Email.” Lively’s CRD Complaint
falsely characterized the exchange as a “lengthy outburst” that delayed filming and caused the
crew to “wait for hours while [Baldoni] cried in Lively’s dressing room.” Baldoni did briefly
become emotional during the conversation, but only in response to what he believed was a
genuine compliment from Lively, praising his work as a director and actor. Baldoni later realized
this was the first of many manipulations by Lively, who in this moment was trying to convince
Baldoni to continue her autonomy over her wardrobe.




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May 16, 2023: Later that day, Lively texts Baldoni to request another meeting with him and the
other producers to discuss wardrobe. Baldoni agrees. After shooting wraps Producer, Sony
Executive, Heath, and Baldoni approach Lively’s makeup trailer. Heath knocks on the door and
is invited in.

Present in the room are Lively’s nanny, makeup artist, and assistant while Lively is having body
makeup removed—she was not topless, as she claimed in her Complaint. She was either nursing
or pumping while fully covered. Lively asks Heath to face the wall while they determine a time
to meet with the other producers, who are standing just outside the door. Weeks later, on June 1,
2023, Lively accuses Heath of making eye contact with her while she had asked him to face the
wall. While Heath does not remember doing so, he sincerely apologizes if he made momentary
eye contact with Lively while conversing, acknowledging that it was possible he may have out of
habit. Lively stated that she “didn’t think he was trying to cop a look,” and they moved on.

Heath pleads with Lively to consider having the meeting the next morning to avoid her getting
home too late and losing shoot time the following day. The conversation in Lively’s makeup
trailer lasts only a couple of minutes, and they agree to meet with the rest of the producers in her
personal trailer. Ten minutes later, they meet and discuss the wardrobe at length. Any suggestion
that Heath ‘stared’ at her inappropriately is not only blatantly false but also difficult to believe,
especially in such a setting.

Furthermore, Lively’s Complaint incorrectly states that Lively intended to speak with the
producers about unprofessional behavior on this day. As this timeline shows, the allegedly
‘inappropriate behavior’ Lively describes in her Complaint had not yet occurred, and the
conversation concerned only wardrobe and production.




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May 17, 2023: Lively continued to share her open and unguarded thoughts on life and her
character. She talked about wardrobe choices to make her character “much sexier.” She sends
Baldoni the following text, notably, using “sexy” both in person and over text to describe her
character. Lively took no issue using the word “sexy” herself, and set the precedent for use of the
word being acceptable (as it is in customary colloquial exchanges).




May 22, 2023: Lively and Baldoni perform a scripted kissing scene in which their characters get
engaged at the hospital. In the sequence, Lively pulls Baldoni in to kiss her. It is clear Lively was
initiating the kissing: In one take, she pulls Baldoni in and kisses him once; in another, twice.
Lively determined the number of kisses based on what she felt necessary for the scene. Though
Lively improvised the number of kisses in this scene, make no mistake—the ‘kiss’ itself was
written into the script and was in no way improvised. Contrary to Lively’s CRD Complaint, there
was no inappropriate, improvised kissing on set. Any improvisation was made by Lively herself.

NOTE: No intimacy coordinator was present on set for this day, as is standard when two
professional actors (with over three decades of combined working experience) perform a scene
in which only kissing is involved, and no other intimacy (nudity or simulated sex) is required.
Furthermore, during preparations, Lively and her attorneys did not indicate in her nudity rider
that she wanted an intimacy coordinator present for scenes involving only kissing. Instead, in



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line with industry practice, focused solely on bringing one on for the simulated sex and nudity
scene(s).




May 22, 2023: Shoot Day #6 – Lively prepares to shoot the hospital scene in which her
character, Lily, gives birth. In Lively’s December 20, 2024, Complaint, Lively alleges that
during a “birthing scene,” she was “mostly nude with her legs spread wide in stirrups and only a
small piece of fabric covering her genitalia,” and that there were “non-essential persons” present.
This allegation is knowingly false. To begin with, to describe Lively as “mostly nude” and
“naked from below the chest down” is inaccurate. Lively was wearing black briefs and a
pregnancy suit that covered her midsection, and her top was covered by a hospital gown.

Additionally, in Lively’s Complaint, she stated she was “alarmed” that Baldoni had hired his
“best friend” as the OBGYN. The actor portraying the obstetrician is an award-winning,
Shakespearean-trained actor with an MFA in Acting from UCLA. In addition to appearing on
numerous hit television shows, he has toured nationally with a Tony Award-winning acting
company and attended Oxford’s acting program on a full scholarship. His engagement was no
different than the engagement of Lively’s sister, who was hired because she is Lively’s sister.
Despite their personal relationship, they are both experienced professional actors.

Lastly, in Lively’s Complaint, she states that the set was “crowded, chaotic and utterly lacking in
standard industry protections for filming nude scenes.” For one, Lively was not “nude,” nor did
the set diverge from industry standards. Further, “closed set” protocols were followed every day
on set.

NOTE: Lively alleges that Steve Sarowitz was present for the filming of the birthing scene. This
is entirely false. Mr. Sarowitz arrived later in the day after the birthing scene had already been
shot.




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May 23, 2023: At the end of Shoot Day #6 on May 22, 2023, Baldoni praises Lively. In turn,
Lively expresses her regard and appreciation for Baldoni while acknowledging she could be
“difficult and critical of others.”




May 23, 2023: Shoot Day #7 - Baldoni, during a scene in which the cast is wearing loose-fitting
onesies, attempts to give Lively directorial feedback regarding wardrobe and encourages her to
remove her coat to reveal her onesie to match the rest of the cast, who were also dressed in
onesies. In Lively’s Complaint, she alleges that Baldoni used the word “sexy” in a tone that
made her feel “ogled and exposed.” However, Baldoni, as the director, noted that the look would
be “sexy,” referencing the wardrobe for the scene and not Lively personally. (Lively had
previously mentioned (verbally and in texts) that she wanted her wardrobe to be “sexy”). His
statements were immediately followed by a gesture indicating that Lively had something in her
teeth and a request for someone on set to get her a toothpick. This exchange, all of which was


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captured on camera, was bookended by Baldoni’s immediate recognition that Lively appeared
offended; Baldoni offered multiple apologies to Lively moments later, despite the fact that he
was merely doing his job.

                                    Shoot Day#7 - Call Sheet




May 23, 2023: Later that day during this action sequence, Lively and Baldoni’s characters
would kiss, which is all caught on camera. Lively’s Complaint later accused Baldoni of
“discreetly bit[ing] and suck[ing] on Ms. Lively’s lower lip during a scene in which he
improvised numerous kisses on each take.” As shown in the below script pages, the kissing was
not improvised.




May 23, 2023: During lunch, as part of a continued creative discussion that Baldoni and Lively
were having about the hospital birthing scene, Baldoni asked Heath to show Lively his wife’s
post-home-birth video, stating to Heath that Lively had not seen one and was presumably
interested in watching. Baldoni himself had seen the video prior and felt it was demonstrative of
the spirit of his vision for the birthing scene. Heath agreed to share this deeply personal video
and approached Lively with the video in hand. He proceeded to show her one second of it before


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Lively asked if Heath had permission to share the video, to which Heath confirmed that he did.
Lively stated she would like to see the video but asked to watch it after finishing her lunch.
Heath did not press the matter and moved on. (NOTE: Lively never did see the video beyond the
one-second clip shown to her).

The video in question showed Heath and his wife cradling their newborn daughter post-birth.
Notably, his wife was not in labor in the video. In fact, the video begins with the cries of the
baby while she is resting on her mother’s chest (a still image of this moment is included below).
Heath’s wife remains covered with a towel for the duration of the video, submerged in water and
holding her newborn. This entire interaction between Heath and Lively lasted less than 30
seconds. Lively later likened this one-second clip to pornography and stated that Heath showed
her a “video of a fully nude woman with her legs spread apart.” The attempt to transform this
benign event into an act of sexual misconduct is intentionally offensive, and to characterize a
photo with a newborn baby as pornography is perverse.




May 23, 2023: That evening, Baldoni and Lively’s characters Filmed a “Romance Montage,”
slow-dancing at a bar, “Completely in their own world.”

The complete footage of this scene was released to the general public on January 21, 2025 in
direct response to the public lies Lively shamelessly presented in her Complaint. The video
directly contradicts Lively’s depiction of Baldoni’s behavior. The footage shows Lively and
Baldoni in character—acting with their bodies—while simultaneously engaging in a personal
conversation about their respective marriages, all while continuing to perform their roles as a
couple deeply in love. A script excerpt is included below.




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May 25, 2023: Lively learns that crew members had called out sick with COVID and, as a result,
requests that testing be conducted on set. “Despite the return-to-work agreement expiring [which
laid out COVID protocols on set], there [was] still a remaining SAG protocol that if an actor
requests those working in extremely close proximity to him/her be tested, [they] must do so.”
Production complied and informed crew members in close proximity to the cast that they should
report for testing the following morning. Contrary to Lively’s Complaint, which states that
Wayfarer failed to implement COVID protocols on set, production was under no obligation to
conduct regular testing unless specifically requested by an actor—which they did. The email
below shows one of the Film's Executive Producers notifying the crew of the following day’s
mandatory testing.




May 25, 2023: Later that evening, Lively informed production that she had become ill.
Production offered to send someone to her house to test her and her family, but she declined.
Lively did not return to production until June 1, 2023. Contrary to Lively’s Complaint, which
stated that production “deliberately withheld” COVID cases from her, production was not
obligated to inform Lively, nor were they aware of any crew members in her close proximity
who had tested positive.




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May 26, 2023: Baldoni texts Lively to let her know he is “committed to making things run
smoother across the board.”




May 29, 2023: Wayfarer was made aware that Lively had placed a call to the Film’s Sony
executive to share a few grievances.

   1. Baldoni’s “sexy” comment about the wardrobe of her character Lily, which, as previously
      contextualized, was benign and mischaracterized by Lively, who took the comment
      personally. [Video documentation clearly shows the comment was made in a non-
      provocative tone by a director to his actress and was not as Lively described].
   2. Heath showed her a post-home birth video.
   3. Lively shared her grievances about the 1st AD suggested that she be replaced. (She and
      the 2nd AD, who is also a woman, were shortly thereafter let go).

Baldoni and Heath were told that, during the call, the Sony executive asked Lively if she wanted
to take any formal action regarding her remarks. Lively responded that she was not interested in
pursuing anything formally. Following the conversation, the Sony executive informed Baldoni
and Heath of Lively’s narrative, both of whom were stunned by the framing of the events.

In her later CRD Complaint, filed more than a year and a half later, Lively distorted the nature of
this call, claiming she had contacted the Sony executive specifically to file an HR Complaint and
was told Sony was powerless to act. This account is highly dubious, as Lively’s pattern of
successfully getting her demands met makes it difficult to believe she would have been
dissuaded so easily from pursuing formal action if that had been her true intent. Moreover, Sony


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immediately informed Wayfarer, stated that the complaints were not sexual in nature, that Lively
did not want to file a formal complaint, and that she simply wanted to bring it their attention so
that they would be more mindful going forward. Certainly, had she filed a complaint Wayfarer
would have formally addressed any issues.

May 30, 2023: Baldoni, reflecting on his conversation with Sony Executive #1 on May 29, 2023,
regarding Lively’s framing of the “sexy” comment and “birth video”, decides to draft a note for
Lively in an effort to rebuild rapport and clear the air. However, Baldoni also sensed that Lively
was intentionally manipulating the facts. Despite this, Baldoni asks Producer #1 to pass along the
following note to Lively.




June 1, 2023: Upon returning to production, Lively requested a meeting with Baldoni and the
Film’s producers, during which she shared a series of grievances that she appeared to have spent
the past five days overanalyzing. From the outset, it was clear that she had scrutinized every
minor interaction and perceived slight from the previous week.

In the meeting, Lively revisited the “sexy” comment—an issue Baldoni had already apologized
for twice: first, minutes after the incident on May 23, 2023, and again later. Lively herself had
previously acknowledged and seemingly accepted the apology. Despite this, Baldoni apologized
a third time in an effort to move forward. Additionally, she accused Heath of looking at her on
May 16, 2023, when she had specifically asked him to turn his back during a conversation in her
makeup trailer. Heath explained that he hadn’t realized he had looked at her but apologized
nonetheless. Lively acknowledged, “I know you weren’t trying to cop a look.”



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Lively further claimed that Heath had shown her a video of his wife’s home birth and thought it
was pornographic. Heath, shocked by this characterization, confirmed that she did, in fact,
understand that it was a video of a post-birth recording of his wife and newborn daughter. He
also explained that Baldoni had asked him to show the clip to Lively as part of a creative
discussion, and that Lively actually had not seen the video. Despite the explanation, Heath
apologized once more.

The meeting underscored the escalating tensions, with Lively using the opportunity to air
grievances over interactions that the team had believed were already resolved.




IMPORTANT NOTE: Neither during this meeting nor at any other point during production did
Lively bring up any of the more serious allegations that she would later include in her
Complaint. We’ve included the facts of the matter above for the sake of timeline while fully
believing that these allegations were only added to Lively’s Complaint to bolster her claim and
not as a reflection of the truth.

June 2, 2023: After sharing her thoughts during the meeting on June 1, 2023, Lively was still
comfortable inviting Baldoni into her trailer to rehearse their lines together while she pumped.




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June 3, 2023: After facing pressure from Sony and one of the Film’s producers, who believed
Lively was no longer responding favorably to the First Assistant Director, Baldoni and Heath
made the difficult decision to dismiss the 1st AD, despite feeling she was being unfairly
scapegoated. In their text exchanges, both expressed discomfort with the decision.

This move created turmoil on set, as the 1st AD played a pivotal role in production, making her
replacement a significant challenge. Nonetheless, they ultimately conceded to Lively and Sony’s
request to replace her.




June 3, 2023: Heath informed the 1st AD that she would be replaced. Meanwhile, Lively
prepared to Film an emotionally intense scene in which her character, alone in a bathroom,
reflects on the abuse she endured from her fictional husband. A closed-set protocol was
implemented that day, restricting visitors without prior approval to ensure privacy and focus.
Lively, who had rewritten the scene herself, was deeply attuned to its intimate and emotional
nature and played a significant role in directing the action. Notably, Baldoni’s character was not
involved in this scene.




                                                35
June 5, 2023: WGA picketers arrived on Day #13 of the shoot, forcing production to act quickly
to keep filming on schedule. In response, producers devised a solution to shoot on a boat, far
from the sound of the picketers' horns. The team “spoke to a boat owner and worked out a deal to
shoot on a boat. After rehearsing a scene to shoot there, along with a romance montage moment,
[they] were about to have the boat leave the dock and then picketers arrived. At that point
[Lively] wouldn’t cross the picket line, so we called lunch.” Despite being obligated by her
union to continue shooting, Lively refused to do so. According to the SAG-AFTRA website
(https://www.sagaftra.org), “SAG-AFTRA has a no-strike clause in our Codified Basic
Agreement, at Section 3, that states: ‘The Union agrees that, during the effective term hereof, it
will not call or engage in a strike affecting motion picture production against any Producer
signatory hereto.’”




                                               36
June 5, 2023: Baldoni, still feeling terrible about letting the 1st AD go, shared that he wanted to
reach out. Below is the text exchange between Baldoni and Heath.




June 9, 2023: Lively and Baldoni still remained cordial and kind over text.




                                                 37
June 10, 2023: Recognizing that it had been a tough week with multiple production shutdowns
due to picketers and an extra shoot day added on Saturday to make up for lost time, Baldoni sent
a text to Lively stating, “I just want to thank you for giving this week 110%. I know how hard it
must be shooting and also have your partner gone and feeling exhausted.” Lively replied, “I
appreciate your empathy and give it in return, you’re in the same boat.”




June 13, 2023: Lively asks Baldoni for access to the “dailies” via text message.




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June 14, 2023: Baldoni shares with his production team Lively’s unorthodox request to see the
dailies. Concerned about Lively's tendency to overstep and take control, Baldoni consulted his
producing team on how best to respond. The team unanimously advised against granting her
access, fearing she might “start to edit the movie and dictate which takes to use”—a concern that
ultimately proved accurate. However, as a gesture of goodwill, Baldoni chose to compromise by
sending her a curated five-hour playlist instead.




                                               39
June 14, 2023: Due to the ongoing WGA picketing, Baldoni, Heath, and Wayfarer made the
difficult decision to shut down production until the strike was resolved.




June 15, 2023: Production on the Film was temporarily halted on June 14, 2023, due to WGA
picketing. The next day, June 15, 2023, production was notified that the WGA had agreed not to
picket their set, allowing filming to continue. Production attempted to reach out to Lively to stay
until the 23rd as originally planned, but she had already made arrangements to join her husband
in London and refused to return. In total, Lively shot for 16 days during Phase 1 of production.

Below is an email from It Ends With Us production attorney notifying Lively’s lawyer that,
despite Lively’s unavailability, production had not shut down and further inquired about the
status of the still unsigned Certificate of Engagement (the preliminary contract required before
commencing work). This email was sent on June 21st.



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June 16, 2023: Wayfarer undertook a significant and costly effort to rework the shooting
schedule, prioritizing scenes featuring the younger versions of the characters (who had not shot
any scenes thus far) over those requiring Lively. This was no small task, as it involved relocating
to different locations, securing revised shooting permits on short notice, and coordinating
adjustments to travel plans and accommodations for cast and crew. The logistical challenges
were immense, but the team worked tirelessly to maintain the Film's momentum and ensure a
smooth transition.

June 22, 2023: Alex Neustaedter (Young Atlas) participated in an on-set electronic press kit
(EPK) interview designed for the Film's promotional campaign. Below are the questions and the
producer’s responses, highlighting his experiences on set and his thoughts on working with
Baldoni.




                                                41
June 22, 2023: Isabela Ferrer (Young Lily) participated in an on-set EPK interview designed for
use in the Film's promotional campaign. Below are the questions and Isabela's responses,
focusing on her experiences on set and her thoughts on working with Baldoni.




                                              42
IMPORTANT NOTE: Isabela and Alex Neustaedter shared these sentiments regarding their
working experience with Baldoni prior to spending time with Lively during the promotional tour
of the Film.

June 22, 2023: Brandon Sklenar participated in an on-set EPK interview designed for use in the
Film's promotional campaign. Below are the questions and Brandon's responses, focusing on his
experiences on set and his thoughts on working with Baldoni.




                                              43
NOTE: Not all cast members participated in EPK interview

June 26, 2023: Lively checks in from London to send well wishes and request access to select
scenes that Baldoni had prepared. The two co-stars remain in open communication.




                                              44
June 27, 2023: Final day of shooting Phase 1. Production will go on hiatus until the WGA and
SAG strike is resolved.




                                              45
July 11, 2023: Isabela Ferrer reaches out to Baldoni two weeks after production had wrapped to
share her gratitude for the experience and “kind words about Baldoni,” and specifically thanking
Baldoni for “creating such a comfortable, safe space”. Baldoni reciprocates the compliments.




                                               46
July 19, 2023: Lively again reaches out to check in with Baldoni during the SAG strike to
inquire about Baldoni’s assembly cut and to request access to the dailies for a second time (her
first request was on June 13, 2023. Baldoni, feeling it was “too early” to share, promises to send
her cuts as soon as he is ready. Lively reluctantly paid nominal lip service to the notion that
Baldoni, the Film’s director, was entitled to the time and space needed for his directorial cut but
continued to push. Baldoni did not assent to this request and said he was “excited to show [her]
when [the] time is right.”




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48
August 25, 2023: As promised, Baldoni reaches back out to Lively and shares with her his
“favorite scenes,” expressing his excitement to show her more in person when they resume
production. A day later, Lively disregards the note about the Film and instead thanks him for the
Matcha machine.




October 17, 2023: Lively’s agent and manager reach out to Heath, requesting that Baldoni fly to
New York to show Lively the assembly cut of the Film. Heath responds that Baldoni is not
available to travel at that time but looks forward to showing her the rough cut when they resume
production shortly.




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November 8, 2023: In anticipation of the SAG strike ending soon, Heath reaches out to Lively’s
representative to share her shooting schedule, which was set to resume on November 15th.




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November 9, 2023: Heath reaches out to Lively’s lawyer about “getting aligned,” informing her
that production was on the ground in New Jersey and eager to get started.




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November 9, 2023: On the very day the SAG-AFTRA strike ended, Baldoni, the studio, and the
producers were eager to resume production. However, their plans were disrupted by an
unexpected email from Lively’s lawyer. The email contained a 17-point list of non-negotiable
conditions that Lively demanded be met before her return to work. The list, both in tone and
content, appeared to insinuate—or outright allege—that Baldoni, Heath, and others had engaged
in sexually inappropriate conduct during filming. These claims were entirely unfounded and a
deliberate attempt to insinuate improper conduct by Baldoni and Heath, forcing them to sign as-
is without objection if Lively was to resume filming.




                                              52
November 10, 2023: Heath contacted Sony to gather their perspective on the 17-point list of
return-to-work conditions, aiming to ensure that any feedback or concerns from their team were
also addressed. Sony’s counsel shared their point of view, as outlined in the email below.




November 10, 2023: A Producer emails Heath and other members of production to notify them
that Lively would be available starting December 5th. They also share that Lively would like to
see new script pages and a one-liner. These demands, presented separately as the lawyers were
discussing the 17-point list, had nothing to do with “safety” and appeared to be another condition
before Lively would return to production. They were further addressed in an email between
Wayfarer’s attorney and Lively’s attorney the following day.




November 11, 2023: Production counsel responds, seeking clarification and stating, “Wayfarer,
Sony, and Production respectfully acknowledge that your client has concerns regarding safety,
professionalism, and workplace culture. Although our perspective differs in many aspects,
ensuring a safe environment for all involved is paramount, irrespective of differing viewpoints.”




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November 11, 2023: While working through Lively’s protection letter for her return to work,
Wayfarer counsel, seeking to keep the production on track, reaches out to Lively’s lawyer, agent,
and manager to send over the requested production materials—a one-liner, schedule, new script
pages, etc. Additionally, Wayfarer counsel sought to coordinate a time for Lively to view the
rough cut (as promised), all in an effort to maintain production progress.




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November 13, 2023: After some back and forth with Lively’s counsel, the Lively camp’s
response made it clear that the list was not open for negotiation.




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November 15, 2023: In light of learning that Lively would not be available for a November
shoot, production reworked the schedule to begin in December instead. Heath shared the
director's notes, the updated schedule, and notes regarding the rough cut with Lively’s agent.




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November 20, 2023: A Sony executive notifies Wayfarer that Lively has approved the A-list
producer and introduces him to Baldoni and Heath.




November 22, 2023: Despite working around the clock to meet the December 11th shoot date,
Lively was ultimately unavailable, and production was once again rescheduled to start in
January. The production office was notified, shut down, and set to resume in mid-January.




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December 27, 2023: Baldoni emailed his team of producers with notes on his revised script,
expressing sadness and frustration over Lively’s takeover of a Film they had spent years
developing, writing, and funding. Having no energy left to fight, he reluctantly declared he
“[was] waiving the white flag and submitting” and would give Lively “98% of what she wants.”
He also conveyed serious concern over handling the intimacy scenes, given the accusations
inherent in Lively’s Return to Production Demands. Baldoni asked his producing partners for
guidance, stating he was rightfully afraid that “something innocuous or not to [Lively’s]
standards would very likely be used against [him] (as it already had),” adding that “creativity is
impossible in an environment shrouded by fear.” A producer responded, thanking him for his
“thoughtful breakdown,... especially considering the circumstances.”




                                                58
December 28, 2023: Lively emails Baldoni to request a meeting at her apartment with him and
the team ahead of the start of production on January 4, 2023.




                                             59
January 4, 2024: Baldoni, Heath, a Sony executive, a producer, the “A-list producer,” and the
Film’s 1st AD met at Lively and Reynolds’ New York apartment ahead of the scheduled
production restart on January 4, 2024. The team arrived prepared, with production binders in
hand, eager to kick off the next phase of filming. However, Lively had different intentions for
the meeting. She began by reading from notes on her phone, outlining a series of alleged
infractions from Phase 1. Reynolds then berated Baldoni, demanding Baldoni apologize to
Lively for actions that had either never occurred or had been grossly mischaracterized. Baldoni
resisted apologizing for things he had not done, which further enraged Reynolds. Everyone,
including the new producer Lively had requested to join the production and the Sony
representative, left the meeting in shock. The new A-list producer remarked that, in their 40-year
career, they had never seen anyone spoken to in such a manner during a meeting. Later, the Sony
representative shared that they often reflected on the meeting and regretted not intervening to
stop Reynolds’ tirade against Baldoni.

IMPORTANT NOTE: Though Lively’s CRD Complaint misleadingly suggests that the parties
agreed to a list of 30 items during this meeting, many of the items listed in her Complaint were
entirely new, baseless, and never presented or discussed. The only document ever shared with
the parties was the 17-point Return to Production Demands, which had been introduced on
November 9, 2023.



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January 5, 2024: From January 5 to February 9, 2024, as Lively admits, filming concluded
without any further grievances from Lively or references to previous disputes: “The parties
agreed to implement and follow the Protections for Return to Production to ensure that the Film
could be completed, marketed, and released safely and successfully. And it was. Production of
the Film resumed on January 5, and concluded on February 9, 2024. The Film has been a
resounding success.”

February 22, 2024: Baldoni starts his first day back in the edit bay with his two editors.

February 24, 2024: Heath and Baldoni are informed of Lively's request, made through the “A-
list producer,” to join Baldoni in the editing bay. She also expressed that she had limited time
before leaving to shoot her next Film in April. If she could not be involved in the edit with
Baldoni, she could not promise to promote the Film. In doing so, Lively knowingly infringed on
Baldoni’s DGA-protected editing time.

February 25, 2024: Baldoni sends a group text to Lively and the “A-list producer” to inform her
that he still needs a couple of weeks to get the Film into a presentable shape. He proposes having
Lively join the editing process during the week of March 18, 2024. Lively responds that she
would like to be in the “passenger seat” with him and wants to get started as soon as possible.

February 25, 2024: Baldoni sends a text to his editors to inform them of the situation.




February 26, 2024: Baldoni responds to Lively’s request to be in the “passenger seat.” Despite
her infringement of his DGA-protected time, and met with Lively’s threats, Baldoni let her know
that he will reach out at the end of the week to update her on the progress, still attempting to be
encouraging in order to keep her happy.




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February 28, 2024: Baldoni and Heath connect with a senior Sony marketing executive to
determine the best path forward with Lively regarding her desire to be involved in the edit and
how they can all stay aligned. After the call, the Sony executive expresses to Baldoni, “We are
all in it with you – at the end of this pain is a BIG WIN!!!”




                                               62
March 8, 2024: Baldoni and Wayfarer enlist Screen Engine to recruit a 100-person group (90%
female) to watch the current cut and provide feedback. Baldoni uses these results to further refine
his director’s cut. He shares the results and scorecards with Lively ahead of their planned
collaboration in the edit. Note: This is not an “official” audience test screening.

March 9, 2024: Baldoni shares the assembly cut of the Film with Lively and informs her about
the mini-audience test screening.




                                                63
March 11, 2024: Baldoni texts with his editors.




                                              64
March 11, 2024: Lively watches the WIP assembly cut and informs Baldoni and the “A-list
producer” via text that she will not be joining the edit today but will instead join the following
day.




March 12, 2024: Lively joins the edit with Baldoni and his editors. She shares seven pages of
notes, which Baldoni and the editors spend hours implementing, despite Baldoni not agreeing
with all of them.

March 13, 2024: Despite sharing seven pages of notes and requiring Baldoni and the editors
incorporate them, Lively did not show up for Day #2 in the edit with Baldoni. Heath checks in
with Baldoni via text, and Baldoni shares the following.




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March 15, 2024: Baldoni, keeping in mind Lively’s threat to not promote the Film continues to
encourage Lively to share thoughts with him and the editors while keeping her updated on
progress all in an effort to keep her happy. In the text he also shares a comprehensive working
update of the Film based on the notes Lively provided.




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April 3, 2024: Sony informs Wayfarer that Lively has escalated her demands, now requesting
solo time in the editing suite with her own editor—a shocking and unprecedented overreach. To


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make matters worse, Wayfarer is told that Lively has made it clear that she will not promote the
Film unless this demand is met, knowing the failure of the lead actress to promote the Film
would be detrimental. This maneuver felt less like a professional request and more like extortion,
holding the Film’s marketing efforts hostage to gain creative control. Wayfarer is left with no
choice but to agree.

The gravity of allowing her access to the edit—a process typically reserved for the director and
post-production team—is not lost on Wayfarer. It undermines the creative integrity of the project
and sets a troubling precedent, all while amplifying tensions between Lively and the team.


April 4, 2024: The A-list producer reaches out to Lively and Baldoni in a group text to request
that the three of them jump on a call to discuss "time sensitive things." Lively is not available
this week to speak with Baldoni and the A-list producer and ultimately did not speak to Baldoni
directly about her demands.




April 4, 2024: Faced with yet another unprecedented demand from Lively—to edit the Film on
her own with her own editor—Wayfarer finds itself with no choice but to assent (yet again).
Wayfarer is forced to balance the need to keep the production on track with managing Lively's
increasingly audacious requests. Wayfarer reluctantly agrees to grant Lively 10 days in the
editing room with her personal editor, with the understanding that her ideas will ultimately be
incorporated into Baldoni’s director’s cut. This concession reflects Wayfarer’s continued effort
to maintain progress while navigating an exceptionally challenging situation. With each “ask,”
Lively makes it plainly known that if she is not given what she wants, she will not promote the
Film at all.

April 17, 2024: Sony marketing and Baldoni coordinate efforts to have Baldoni attend Book
Bonanza and show audiences a surprise early screening of the Film.




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April 18, 2024: In a group text involving an A-list producer, a Sony executive, Baldoni, and
Heath, the team discusses the possibility of sending Baldoni’s editor to New York (since
Lively’s preferred editor was not available). Heath emphasizes the importance of clarifying that,
while Baldoni had agreed to allow her into the editing process, it should not, under any
circumstances, be interpreted as his endorsement of the idea. Baldoni’s agreement was purely a
concession to move forward, not a reflection of his confidence in or approval of the decision.




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April 18, 2024: Below are texts between Baldoni and his editors discussing whether to have one
editor fly to New York and work with Lively in person or remotely. Ultimately, it is decided to
fly the editor out, as the editor stated, “I want Blake to feel like she’s getting what she wants so
we can move on from this need of hers.”




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April 22-May 1, 2024: Lively and the editor work on her cut of the Film at Wayfarer and Sony’s
expense. In the meantime, Baldoni continues cutting his version of the Film, all the while
believing that he will have the opportunity to consider incorporating Lively’s edits at a later date.




                                                 71
April 23, 2024: Jamey Heath learns that Lively asked Sony to bring other creative collaborators
into the cutting room with her. In response, a Sony executive relayed a firm message to Lively,
stating, “This is a Wayfarer movie. Wayfarer has Final Cut and runs the process.” Sony is an
investor and distributor. The Sony executive hoped to reiterate that Lively needed Wayfarer’s
approval for any such involvement, reinforcing the boundaries of her creative role.




April 24, 2024: On the same day, a Sony executive informs Heath that Sony is holding firm in
refusing Lively’s request to bring others into the cutting room. Heath conveys Baldoni’s growing
frustration, noting that while Sony appeared to bend over backward to accommodate Lively’s
demands, they do not extend the same courtesy to him as the director. In response, the Sony
executive acknowledged the imbalance and admitted that this was not a situation anyone at Sony


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had anticipated or wanted to be in, underscoring the complexity and strain of managing the
escalating tensions.




April 29, 2024: Heath and Wayfarer, eager to get the Film back from Lively, ask the A-list
producer to make it clear to Lively’s agent that Wednesday, May 1st, would be her last day in the
edit.




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April 30, 2024: Still unsatisfied, Lively demands another extension of her time in the cutting
room, pushing the deadline from May 1st to May 8th. Adding to the audacity, Lively insists that
Sony and Wayfarer hire her personal editor—someone she had worked with previously, most
notably on projects with Reynolds. Faced with this escalating situation, Wayfarer considers
granting the extension but attaches a significant condition: Lively would need to sign her long-
overdue acting agreement. This document, which had been left unsigned for over a year, would
prevent Lively from continuing to leverage her promotional participation as a bargaining tool.
Wayfarer’s attorneys had been tirelessly trying to secure her signature, and this moment
represented a pivotal opportunity to resolve the standoff.

Heath clearly communicates Wayfarer’s position in an email to Lively’s representative, hoping
to bring an end to the ongoing impasse while protecting the integrity of the production.




April 30, 2024: Heath is informed that Lively had told Sony Marketing that she would refuse to
approve trailers, TV spots, and digital marketing assets if Baldoni's acting credit appeared
alongside hers. Sony Marketing, citing Lively's contractual approval rights over her image and
likeness in promotional materials, warns Heath that she could effectively block the release of
almost every piece of promotional content featuring her face or name—essentially all of it. Faced
with this leverage, Baldoni and Wayfarer reluctantly agree to remove his name from the “before
or above title” credit in trailers and related marketing cutdowns. This concession is yet another
clear example of Lively’s ongoing effort to diminish Baldoni's presence and influence on the
project. There is no creative or professional justification for his name to be excluded; it is purely
a result of her demands. The situation escalates further when, on June 18, 2024, Sony requests
that Baldoni’s “Film by” credit be removed from the Film’s poster—a move that reinforces
Lively’s wholesale erasure of his contributions, as a request of this nature would have no
meaning to Sony; it is clearly instigated by Lively.




                                                 74
May 2, 2024: While Lively is holding the Film hostage in the edit room, she is simultaneously
stalling the Film’s marketing by refusing to approve key materials, including the trailer release.
With less than three months until the Film's premiere, Sony becomes increasingly alarmed about
the delayed rollout of the trailer, a cornerstone of the promotional campaign. In a text exchange
between Heath, a Sony Film executive, and a Sony marketing executive—who had just spoken
with Lively—they inform Heath of Lively’s still escalating demands: Lively will not approve the
trailer release unless she is granted more time in the edit room with her personal editor. Adding
to the pressure, Lively made a veiled threat, implying she might “change her mind” about
reaching out to Taylor Swift to secure the use of “My Tears Ricochet” for the trailer if her
demands are not met.

When Heath stands firm and refuses to acquiesce, the Sony marketing executive delivers a sharp
and pointed warning: “You don’t want to play ball—you are going to delay and greatly hurt the
movie. Good luck.” This stark response signals that Sony, too, was beginning to apply pressure
on Wayfarer, effectively strong-arming them into compliance. The message makes it clear that
the studio is growing increasingly frustrated with the situation and is prepared to hold Wayfarer
accountable for any negative fallout, adding yet another layer of tension to an already fraught
dynamic.




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May 3, 2024: Faced with Lively’s escalating threats—ranging from potentially delaying the
Film’s release to outright refusing to promote it—Wayfarer, once again, reluctantly conceded to
her demands, allowing her to continue editing with her personal editor. Further, they withdrew
their reasonable request for Lively to sign her long-overdue contract, opting instead to focus on
maintaining forward momentum. Wayfarer’s only request was that Lively provide updates by the
end of the day on May 8, 2024, allowing the director sufficient time to review and incorporate
her edits into his cut. Despite the mounting tensions, Baldoni, Wayfarer, and Sony held on to the
belief that Lively’s contributions would ultimately be integrated into Baldoni’s vision for the
Film, preserving the integrity of the final product.




                                               76
May 6, 2024: Baldoni and Colleen Hoover host a trailer launch event at the Sony Studio lot and
shoot promotional content in support of the Film.




                                              77
May 10, 2024: On the final day on which she is approved to edit the Film, Lively refuses to turn
over her cut to the Film’s director and instead tells Sony that she wants to do a “friends and
family” screening of her cut to gather feedback and continue working on her edit. This was of
course at Wayfarer and Sony’s expense and not accounted for in the budget.

May 13, 2024: Sony and Wayfarer do an official audience test screening of Baldoni’s cut in
Aliso Viejo CA. The Film scores 94% with females under 35, the Film’s primary target
audience. Both Sony and Wayfarer are ecstatic about this score.




May 15, 2024: Baldoni shares the official audience test screening scores with his editors.




                                               78
May 16, 2024: The trailer for the Film is released to the world.

May 18, 2024: Lively hosts a “friends and family” screening of her cut in New York. She does
not share any audience feedback with Baldoni or the studios.




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May 20, 2024: Wayfarer is informed through Sony that Lively, emboldened by the feedback she
received from her friends and family screening, demanded an official audience test screening of
her version of the Film. In light of Lively’s threat to withhold promotion of the Film, as well as
her barely veiled threat to end Baldoni’s career with a slew of false accusations, the studio
reluctantly agreed to do an official audience test of both versions (again at Wayfarer and Sony’s
expense). This decision was made on the understanding that Lively had agreed with Sony that, if
Baldoni’s director’s cut tested higher, she would drop the matter and fully cooperate so that
Baldoni could finish the Film without further interference.

May 30, 2024: Sony and Wayfarer held an official audience test screening of Lively’s cut in
Aliso Viejo, CA. The results revealed that Lively’s cut scored an 82% approval rating with
females under 35—12 points lower than Baldoni’s version (94%). That same evening, a senior
Sony marketing executive contacted Lively to discuss the scores. Instead of honoring her original
promise, Lively rescinded it, doubling down on her refusal to promote Baldoni’s cut, regardless
of its stronger audience performance. To make matters worse, Lively further asserted that
Colleen Hoover would also refuse to promote the Film unless Lively’s cut was released. This
claim was deeply disheartening, as the longstanding relationship between Colleen Hoover,
Baldoni, and Heath had been one of mutual respect, trust, and admiration.




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June 2, 2024: Once again, Wayfarer found itself with no choice but to allow Lively to continue
her edit, effectively sidelined to sharing notes with Lively and her editor—without any assurance
that those notes would even be considered. In a careful attempt to navigate the situation, Heath
compiled Wayfarer’s collective feedback, including Baldoni’s input, and shared it with Sony,
hoping it might be relayed to Lively.

By this point, it had become painfully clear to Baldoni and the Wayfarer team that Lively was
determined to assume full creative control from the director, the financier, and the studio behind
the picture. Her campaign to marginalize Baldoni’s role in finishing the Film had proven
devastatingly effective, leaving him and the team devastated and frustrated. Despite everything,
Baldoni and Wayfarer remained hopeful that the Film’s release and success would make it all
worth it and remained focused on the goal of completing a Film that could have impact.




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June 3, 2024: Baldoni is informed that Lively would be attending Book Bonanza with Hoover
instead of Baldoni. Jennifer Abel (Baldoni’s publicist at Jonesworks) and Baldoni share a text
exchange disheartened at how things have unfolded.




June 5, 2024: Baldoni’s editors inform Baldoni that they had heard from a “secret source” that
Lively was incorporating “a bunch of [Baldoni’s] version back into the Film” ahead of the
second official audience test screening of Lively’s cut on June 6, 2024.



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June 6, 2024: Wayfarer and Sony pay for a second official audience test screening of Lively’s
latest cut. Scores marginally increased across the board, scoring 83% with females under 35 (still
11 points short of Baldoni’s cut).




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June 6, 2024: Baldoni is hospitalized for 3 days due to a spine infection.




June 12, 2024: Wayfarer is informed that Blake Lively told Sony that she will showing
audiences at Book Bonanza her cut of the Film, regardless of Sony or Wayfarer’s approval. She
later admitted on her panel at the event that the “studio begged her not to show the Film” but
ultimately, they “didn’t have the option [to say no], as [she] brought the movie with her on the
airplane.” A video of this comment is available at the 48:32 mark at:
https://youtu.be/8P5POKBU7Ys.

June 14, 2024: Lively, Colleen Hoover, Brandon Sklenar and Isabela Ferrer attend Book
Bonanza to promote the Film’s release. Wayfarer was only made aware that Brandon and Isabela
would be in attendance the day of event. Sony later notified Wayfarer that it was Lively who
reached out to Brandon and Isabela and paid for their travel and lodging.




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June 14, 2024: Baldoni shares with his editors that Lively’s cut of the Film would be shown on
the second day of Book Bonanza.




June 17, 2024: Lively makes the unilateral decision to bring on a new composer for the Film. As
a result, the original award-winning composer was let go despite having already completed the
score - which included costly orchestral arrangements. Even though Lively had absolutely no
right to do this, neither Wayfarer nor Sony were able to challenge Lively’s decision, despite the
significant financial implications—paying out the original composer in full and shouldering the
steep costs of hiring a new composer so late in the process.

June 18, 2024: Sony marketing requests that Baldoni waive his “Film By” credit on the
secondary poster so that only Lively’s name would appear above the title. Further, despite having
already approved a poster for the Film it was understood by Wayfarer that Lively would not


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approve this new version in which Baldoni’s name appeared next to hers, thus requesting that
Baldoni’s name be removed. Sony obliged and made the ask to Baldoni. Given this is a
contractual right that Baldoni negotiated, Sony needed Baldoni to put in writing that he was
waiving his right to “a film by” credit. For clarity there would be no reason for Baldoni to waive
this right without Lively requiring him to do so, ultimately he acquiesced.




June 18, 2024: On the same day that Baldoni waives his “Film by” credit, Wayfarer also
reluctantly agrees to give Lively a producer credit on the Film. This was an ask that she took to
Sony, despite it being a decision properly made by Wayfarer. She was originally credited only as
an executive producer, but both Wayfarer and Sony no longer had the leverage to oppose her
demands or the will to deal with the fallout if they were to deny the credit at that point. Wayfarer
conceded and informed Sony, while also remarking that “they would not be advocating for her
getting the PGA Mark as that is not applicable.” Given Lively’s contributions to the Film, it was
collectively agreed among the producers that she had not earned the distinction of the PGA mark.




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June 20, 2024: Shortly after granting Lively the producer credit, Heath was informed that Lively
had reached out to Sony yet again, this time to ask that Baldoni and Heath write a letter on her
behalf so that she may be considered to receive the PGA mark. Both Baldoni and Heath did not
feel that her work warranted the PGA mark - a distinction highly valued and taken seriously
within the industry. As Heath had already noted in his email on June 18, they didn’t feel it right
to misrepresent her contributions in order for her to get a PGA mark. Heath had learned from
Sony that Lively was extremely displeased with this response and told Sony that as a result of the
men not submitting the letter, “any goodwill left was now gone”.

June 20-24, 2024: Abel (Baldoni’s Publicist) emails Sony’s marketing team to inquire about a
content shoot that Lively seemingly coordinated with Maximum Effort, Ryan Reynolds’
production company. Sony at the time of the initial outreach by Abel was not aware of the plans
for the shoot (which were planned for June 27-28). Later Sony attested to the fact that that Lively
and Maximum Effort were “running the show.” Abel was understandably concerned at the optics
of the entire cast doing a content shoot without the director and co-lead being present. This
would later be something that the public would take notice of as well and heightened the rumors
and negative press that Lively would take issue with.




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June 25, 2024: While contemplating the PGA letter and fearing what Lively was capable of,
Heath reached out to Lively via text in order to humanize the situation. It had been months since
Lively had spoken to Baldoni or Heath directly, as she insisted at each turn that she needed an
intermediary. This time was no different as she refused to get on a call. Heath, feeling that she
was unwilling to even hear them out, again conceded and agreed to write the letter
recommending Lively for a PGA mark.




June 26, 2024: After many conversations and once again feeling trapped, Baldoni and Heath
write a letter of recommendation to the PGA on behalf of Lively and send a copy to Lively to
submit to the PGA. Heath simultaneously wrote a letter to his attorneys deriding the extortion by
Lively.




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June 28, 2024: Heath, the CEO of Wayfarer, expressed to Forbes on June 28, 2024 his high
hopes for the Film. The article would be later released in August.




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June 28, 2024: Lively and Reynolds’ company Maximum Effort organized a content shoot for
the Film’s promotional campaign with the entire cast and author of the book (minus Baldoni of
course). The content shoot included the cast making flower arrangements, baking cookies,
playing Pictionary, collage making and other concepts developed by the Maximum Effort team
in support of the Film’s promotion. They later posed for seemingly staged paparazzi photos
before having dinner together.




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July 1, 2024: By July 2024, Baldoni was completely locked out of the Film’s final cut. By virtue
of his role at Wayfarer, he was permitted to “give notes as a studio.” Despite his personal
feelings, he redirected his thoughts to focus on the one positive: The Film, years in the making,
was very close to being seen by the world, even if it was no longer his Film. The Film’s original
editors inform Baldoni that the last they heard “she was putting back a fair amount of [Baldoni’s]
version” into the final cut.




July 2, 2024: On a Zoom videoconference between Wayfarer and Sony Marketing, Wayfarer
learned that Sony had been dealing with extensive notes and revisions to the marketing plan as a
result of the content shoot. Because Sony ended up hiring Reynolds’ company, Maximum Effort,
to produce the promotional content for the Film, the cost for the shoot significantly increased due
to their fee being higher than what Sony had originally budgeted. (Notably, this charge was


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despite Lively’s claim in a January 2023 text to Baldoni that Maximum Effort would “work free
for the family, as shown below.) Despite ultimately approving this, Wayfarer was told that Sony
was not allowed direct access to the footage (which they had paid for). This shoot included the
cast baking cookies, floral arrangements, ironing patches on jeans, and other quirky ideas that
completely missed the point of the movie, skirting the issue of domestic violence entirely to the
detriment of all those involved. As noted in the email, “Sony did not have much opportunity to
be involved” in the shoot.




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July 10, 2024: Whilst dealing with the Baldoni’s mounting PR headaches, Baldoni’s Publicist
Jennifer Abel was also dealing with a difficult working relationship with her employer,
Stephanie Jones (Founder of Jonesworks PR). The tension between Jones and Abel reached a
tipping point when Jones, whose behavior had become increasingly erratic and hostile,
demanded Abel corroborate falsified accusations about a senior Jonesworks employee in an
effort to drive him out. When Abel refused to go along with it, Jones responded with mockery,
calling her a “12 year old drama queen.” As a result on July 10, 2024, Abel notified Jones of her
decision to depart from Jonesworks and intention to start her own business. Abel offered a six-
week transition period, with an end date of August 23, 2024, and notified her colleagues.




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July 11, 2024: In anticipation of an in-person interview with a national publication that
requested to follow him for a “Day in the Life” piece, Baldoni reaches out to the post-production
house working on It Ends With Us to find a time for him to come in for a few minutes and do a
mock coloring session. At the time, the coloring was nearly complete. This was all done in an
effort to promote the Film and, of course, highlight Baldoni as its director. However, when
Lively was informed of this “fake coloring session,” she was incensed and demanded that Sony
intervene and stop the interview from happening Sony obliged which left Baldoni and team
disturbed by Lively’s insertion into Baldoni’s own marketing and promotional efforts for the
Film.

July 15, 2024: Wayfarer is informed that Reynolds contacted Baldoni’s personal agent at WME.
During the call, Reynolds escalates his attack on Baldoni’s character, calling him a “deranged
predator.” Baldoni’s agent relays to Wayfarer that he did his best to reason with Reynolds and
challenge the absurd claims, but Reynolds was unwilling to consider any counter-narrative.
Reynolds reiterated that Baldoni should not attend the premiere on August 6th, stating, “no one
wants him there.” When Baldoni’s agent shares this conversation with Baldoni and Heath, both
are disturbed by Reynolds’ continued efforts to damage Baldoni’s reputation within the agency.

July 17, 2024: Baldoni attends Lily Bloom’s Pop-up Shop at Westfield Century City to promote
the Film. Following the Pop-up, Jones contacts Abel to check in. Abel shares that Baldoni is
struggling and under immense pressure. Moreover, Baldoni is dealing with Ryan Reynolds
"calling [Baldoni’s] agent and saying what a horrible person Justin is."




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July 22, 2024: Lively, Reynolds and other members of the Film’s cast attend the premiere for
Deadpool & Wolverine. At the afterparty, Wayfarer was informed that Reynolds approached a
senior executive at WME and expressed his deep disdain for Baldoni, going as far as to suggest
that the agency is working with a “sexual predator.”




July 23, 2024: Sony informs Wayfarer—the studio financing the premiere and most of the
Film—that Lively had demanded tat Baldoni, Heath, and Wayfarer refrain from attending the
New York premiere and threatens a cast-wide boycott if they do.

July 24, 2024: Mindful of the potential premiere boycott, and not knowing what Lively and
Reynolds were planning to do if Baldoni and team attended, Abel emails the Wayfarer team
requesting Lively’s November legal letter correctly assuming that Lively would try to use the


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letter against Wayfarer. With the letter in hand Abel intends to draft context for each issue to
ensure the team can factually refute any press leaks. Abel emphasizes a reactive strategy,
acknowledging its drawbacks, and advises promptly countering any public claims with facts,
third-party sources, and, if necessary, legal action: “We will just need to be prescriptive in
immediately refuting whatever is made public with facts, third-party sourcing on background,
and if necessary, a legal response.” Upon receiving Lively’s 17-item list, Abel clarifies that they
are “demands, not grievances.”




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July 24, 2024: Later that morning, at Wayfarer’s request, Abel contacts Jones for crisis PR firm
recommendations to represent Baldoni.




July 25, 2024: Wayfarer receives several crisis PR recommendations, including Melissa Nathan
(“Nathan”), a veteran in the field. Abel, having previously worked with Nathan, endorses her
based on their strong professional relationship.

July 25, 2024: Wayfarer meets with Nathan and her firm, The Agency Group PR LLC (“TAG”).
After the introductory call, TAG provided a document detailing their proposed scope of work.




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July 26, 2024: Upon learning that Wayfarer was considering working with Melissa Nathan,
Stephanie Jones, seeing her as competition began pressuring Abel to intervene and tell Wayfarer
that she was “shady”. Abel refused to do so which only made Jones more irritated.




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July 26, 2024: After extensive consultation and frustration over Reynolds’ and Lively’s ongoing
threats, Baldoni and Heath inform Sony that Wayfarer will attend its own premiere. Given
Lively’s heavy promotion of the Film, the likelihood of her boycotting seemed low, and her
leverage appeared to be weakening as the event neared (or so they thought). However, Baldoni
remained deeply anxious, fearing potential retaliation from Lively and Reynolds simply for
attending his own premiere.


That same day, an article surfaced about another director facing allegations of inappropriate on-
set behavior. Baldoni forwarded the link to Abel, adding his own remarks: “This is the shit I’m
sure they want to do—unnamed sources, etc.”




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July 26, 2024: Amid the turmoil surrounding Baldoni, and over two weeks after submitting her
resignation, Abel emailed Jones to express gratitude and assure her of no “ill will.” However, she
remained resolute in her decision to leave Jonesworks.




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July 30, 2024: Sony and senior marketing executives inform Heath and Abel that Lively has
demanded Baldoni conduct his junket interviews on a different day than hers, further ostracizing
Baldoni. Abel pushes back, arguing that this would signal to the press that something was wrong.
Ultimately, Abel is able to find a compromise and they agree Baldoni would conduct his
interviews separately from the rest of the cast at a different hotel but on the same day.

July 31, 2024: Social media "detectives" begin to notice Baldoni's absence from the promotional
content being posted online.




August 2, 2024: Recognizing the extreme measures Lively and Reynolds were taking to
undermine Baldoni—excluding him from the premiere and press tour, spreading negative rumors
within his agency, isolating him from cast events and promotions, and engaging in strongarm
tactics to take control of the Film—Baldoni and Heath decide to retain Nathan and TAG. Baldoni
and Heath did so after Abel learned from Nathan that a negative story was being circulated
among media contacts, labeling Baldoni's religion as a "cult" and accusing him of "fat-shaming"
Lively. In response, TAG prepared a 'scenario planning document' with rapid response strategies,
key messaging, and other, standard crisis PR deliverables. Feeling uneasy, Baldoni texts Abel for
reassurance. She responds, in part: “TRUTH is your defense.”




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In her CRD Complaint, Lively cherry picks text messages between Abel and Nathan, stripping
their exchange of critical context:




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August 3, 2024: Social media chatter begins to intensify, with users questioning, “Why is Justin
not in any of the promos?”




August 4, 2024: Abel and Nathan commiserate about the situation, with Abel jokingly
suggesting they plant negative pieces about Lively. While Nathan understands Abel’s comments
are lighthearted, she responds seriously, advising they wait to see how the next few days unfold
and stay vigilant. Nathan also notes being aware of a story from Lively's camp intended to hurt
Baldoni's reputation. Both agree to stay alert and avoid taking any hasty actions.




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August 5, 2024: Baldoni's first full day of press began before 6:00 AM. Later that morning, he
shared a link with Abel to an article on celebrity “bullying” that had appeared on his Twitter
feed. Given the circumstance that Baldoni had found himself in, the article's timing resonated
with him as he was understandably feeling bullied, so he took a screenshot and sent it to Abel.




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August 5, 2024: That evening, unbeknownst to Baldoni and Wayfarer, Lively and the rest of the
cast attend a META screening of the Film at The Roxy Hotel. The event includes a Q&A session
with Colleen Hoover and the cast—with everyone except Baldoni. This exclusion further
highlights Baldoni’s deliberate sidelining. Fans and journalists quickly notice the absence of the
Film’s director and co-lead, sparking online chatter and fueling rumors about tensions behind the
scenes. The incident underscores the growing divide and continuing efforts to exclude Baldoni
from the Film’s promotion.




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August 6, 2024: At the premiere of the Film in New York, Baldoni is instructed to walk the
carpet separately from the rest of the cast. However, he is quickly ushered off the press line when
it is announced that Lively is on her way. Once inside the theater lobby, security escorts Baldoni
and his family to the basement to prevent a potential encounter with Lively and the cast. They
are then taken to a basement stockroom for holding while Lively, Reynolds, and the rest of the
cast walk the pink carpet. After the lobby clears, Baldoni, Heath, and their friends and family are
ushered to a small theater at the end of the hallway for a separate screening.




August 7, 2024: Articles about a potential cast feud began circulating online, and social media
chatter intensifies. Audiences take notice that the cast had "unfollowed" Baldoni, and fans
observe that he was absent from any promotions. This confirms Baldoni’s team and Sony’s long-
standing concerns: the situation was overshadowing the Film. Baldoni and Wayfarer feared it
would also undermine the Film’s message.




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August 7, 2024: Nathan texts Abel, “this is the time to make a decision on social planning….
Would rather be in the front [than] in the back—and it costs way more in the back.” Abel
responds, “Do you think we need it?” Abel remains unconvinced that any changes are necessary.
Nathan and Abel continue to do the work outlined in the TAG scope of services which at this
stage involved Monitoring coverage and social conversations, correcting and updating stories &
headlines in real time.




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August 8, 2024: Online chatter escalates, and "cast tensions" become the headline across major
publications.




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August 8, 2024: At 10:11 a.m. (PST), Nathan and Lively’s publicist, Leslie Sloane (“Sloane”),
reach an agreement whereby neither will communicate directly with a reporter prior to informing
the other. Nathan states, “I am not doing one thing without speaking to you,” to which Sloane
responds, “Me either.” Just nine minutes later, Sloane breaches her agreement with Nathan by
engaging with a reporter at the Daily Mail. Sloane actively continues her discussions with the
Daily Mail reporter, seeding false information to cast Baldoni in a negative light. To divert
attention from Lively's tyrannical behavior on set, Sloane attempts to portray Baldoni as the


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antagonist, stating, “The whole cast doesn’t like Justin, nothing to [sic] do with Blake.” She
doubles down, insisting, “I’m telling you, she’s a liar. They are panicking as the whole cast hates
him.” Sloane also threatens the reporter, saying, “The entire cast I will have go on the record...
this needs to hold.”

Nathan’s texts with Sloane:




Sloane’s texts with Daily Mail reporter:




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August 8, 2024: That same day, Jones, attempting to reinsert herself into Baldoni and Wayfarer's
good graces while sidelining Abel (despite both representing the same firm), contacts a Daily
Mail reporter about a story on Baldoni and Lively. Abel, at the direction of Baldoni and
Wayfarer, previously instructed Jones not to speak to the press due to the fragile truce with
Lively’s team. Despite this, Jones brags to Wayfarer about “trading calls” with the Daily Mail to
appear engaged with the account. Notably, at the time, Wayfarer and Abel were unaware that
Sloane had breached her agreement with Nathan. Sloane and Sony later discover that “someone
from Baldoni’s team had been communicating negatively to the media.” It was clear that Jones
was the source, and Wayfarer’s leadership, along with Sony, were livid. All parties were
desperate to avoid an all-out conflict between Lively and Baldoni just as the Film was about to
be released.




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August 8, 2024: Nathan and Abel are left to deal with the fallout from Jones inserting herself
into the situation.




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August 8: 2024: Crisis mitigation specialist, Jed Wallace (“Wallace”), is engaged to assess and
monitor all online and offline concerns related to Baldoni and Wayfarer, specifically pertaining
to information received about a developing campaign to discredit and damage Baldoni, including
his Baháʼí faith, and Wayfarer. Given the importance of the Film to Baldoni and Wayfarer, its
success, and the critical support it would bring to the domestic violence survivor community,
Wallace is asked to focus on analyzing online feedback and monitoring the overall sentiment
related to Wayfarer, Baldoni, Lively, and others working on the Film.


August 9, 2024: Early morning, Abel receives an inquiry from the Daily Mail.




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August 9, 2024: Heath calls Jones to clarify that, due to the sensitivity of the situation, he feels
more comfortable with Abel leading communications rather than Jones. Heath reiterates that
Jones should refrain from taking any action on behalf of Baldoni or Wayfarer until further notice.
At the time, Heath was in Chicago with Baldoni and Abel, and they all agreed that Abel, with
firsthand knowledge and the most up-to-date information, was the best person to handle
communications. Jones does not take this well and launched into a tirade, insisting that she will
speak to whomever she pleases, and that Wayfarer cannot stop her from "clearing her name."
The day prior, Heath had texted Jones demanding that she not communicate with anyone on
behalf of Wayfarer or Baldoni.

August 9, 2024: Nathan, consistent with the pair’s agreement, sends a text message to Sloane
containing an email she had received from a Daily Mail reporter. Unbeknownst to Nathan, this
was the same reporter with whom Sloane had been communicating the day prior. Nathan
confirms that she played no part in the story and tells Sloane, “I’m going to have to speak with
him, but I’m just going to tell him nothing[.]” She adds, “Happy to chat to you beforehand if
you’d prefer.” Sloane deliberately omits the fact that she had spoken with the reporter just 24
hours prior, stating “Let me know how it goes.”




August 9, 2024: During a red-carpet interview at the New York premiere, Lively stated, “The
iconic rooftop scene, my husband actually wrote it. Nobody knows that.” This revelation
regarding Reynolds’ purported contribution to the script raised eyebrows at Sony, who told
Wayfarer that they “certainly need[ed] some clarity on public comments made about Ryan
Reynolds potentially contributing writing services for the rooftop scene.”




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*referenced in complaint*

August 9, 2024: On the day of the domestic release of the Film, Heath shares observations with
Sony marketing, urging them to take the topic of domestic violence (DV) more seriously as part
of the Film’s rollout. This was a concern that Baldoni, Heath, and Wayfarer had long expressed
to the team.




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August 10, 2024: TAG and Abel continue to monitor online chatter about the Film.




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August 11, 2024: Baldoni felt it was important to stay on message, as he had during the Film’s
junket press tour from August 4–9th. Despite a purported “feud” or the focus on the Film’s box
office success, Baldoni sought to redirect attention to domestic violence survivors. He sends a
text to the social media team, urging them to focus their efforts on this topic.




August 11, 2024: Heath follows up on his email to Sony from August 9, 2024, expressing his
gratitude for the team’s efforts in making the film a box office success. He requests, however,
that they schedule a call to discuss the Film's messaging.




August 12, 2024: Organic articles emerged directly related to how Lively was promoting the
Film. See, e.g., Natasha Jokic, Here’s What’s Going On With The ‘It Ends With Us’ Drama
(Aug. 12, 2024) https://www.buzzfeed.com/natashajokic1/it-ends-with-us-blake-lively- justin-
baldoni; Lillian Gissen, Blake Lively fans blast It Ends With Us actress over ‘tone deaf’ and




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“shallow” interview with costars (Aug. 12, 2024),https://www.dailymail.co.uk/femail/article-
13739569/blake-lively-tone-deaf-domestic-violence- interview.html




August 12, 2024: WME, Abel, and Heath discuss a yet another conversation between WME and
Reynolds. WME shares that Reynolds and Lively are furious with Wayfarer and Baldoni for
positioning them as promoting the Film as a “Barbie film” while elevating Baldoni to speak on
the more serious messaging. Reynolds and Lively purportedly believe Nathan is responsible for
this positioning and demand that Wayfarer release a statement of contrition, taking
accountability for the negative press toward Lively and Reynolds. They warn WME that absent
compliance, the "gloves will come off." In turn, Reynolds tells WME that he would personally
draft a statement for Wayfarer to release immediately. Heath and Abel are astounded that
Reynolds and Lively blame Baldoni and Wayfarer for their self-inflicted PR nightmare. Heath
had consistently communicated that neither Wayfarer, Nathan, nor anyone on their team was
manipulating the internet, using bots, or seeding stories about Lively’s or Reynolds' character.
All press stories were organic and directly resulted from Lively’s own tone-deaf marketing
approach.

August 12, 2024: That evening, two WME executives, Heath and Abel participate in a call to
review the statement drafted by Lively and Reynolds on behalf of Baldoni, Heath, and Wayfarer.
Upon review, WME concurs with Wayfarer that the statement was vague, implies culpability
without substance, and fails to address the issues at hand. Furthermore, if the goal was to
mitigate negative online attention directed at Lively, the statement would have the opposite
effect. In response, Wayfarer, Baldoni, and Heath reject the demand, firmly refusing to issue any
statement falsely assuming responsibility for non-existent issues.




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August 12, 2024: Abel shares with Nathan that “Blake and Ryan want Justin to put out a
statement.” Both are shocked by the request and state that they have never encountered anything
similar. Nathan advises Baldoni to retain legal counsel immediately.




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August 13, 2024: The Daily Mail publishes an article titled, “Blake Lively goes into damage
control by FINALLY addressing the domestic violence in It Ends With Us amid criticism over
‘tone deaf’ film promo.” This follows Lively’s post to moviegoers, which includes statistics on
domestic violence and a link to resources for support. The information remained on her story for
24 hours.




August 13, 2024: The New York Post contacts Nathan for a comment regarding competing cuts
and on-set feuds. The information provided is inaccurate. Lively did not have final edit approval,


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nor was she given Sony’s cut. In reality, Sony did not have a studio cut; rather, Wayfarer and
Sony shared a studio cut. Should the director’s cut not perform well in audience screenings, the
studios collectively held the right to recut the Film. However, this never occurred, as Lively used
her promotional efforts to secure the final cut. All the information Leslie provided to The New
York Post was false and misleading.




August 13, 2024: The Hollywood Reporter publishes a story naming Nathan as Baldoni’s crisis
PR representative, drawing a comparison between Baldoni and Nathan’s previous client, Johnny
Depp. This comparison proves damaging for Baldoni, as Nathan was hired specifically to ensure
that the truth would be communicated, free from interference by Lively’s team.




August 8, 2024: Sloane has a text conversation with a Daily Mail reporter who spoke to Jones.
Jones, acting independently, had reached out to the Daily Mail seemingly on her own initiative
and in direct disregard for Heath’s previous request to say nothing.



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August 14, 2024: As discussed hereinabove, in early August 2024, Jones inserted herself into
the situation, attempting to sideline Nathan and Abel. The issue, however, was that Jones had
deliberately distanced herself from Wayfarer leadership’s communications strategy and internal
decision-making, citing her focus on higher-profile clients. Wayfarer had no objection to Jones’
disengagement, as Abel was their trusted advisor, and they had no interest in becoming entangled
in Jonesworks' internal politics. Furthermore, Jones had been on a family vacation during the
critical period of the press campaign and Film premiere. Despite her physical distance, Jones’
attempts to intervene were clumsy, unwelcome, and sporadic. As she tried to create drama and
undermine Abel’s authority, Wayfarer and Baldoni remained focused on managing the crisis at
hand. On August 14, 2024, in a final effort to position herself as the "key player" for Wayfarer’s
account, anticipating Abel’s imminent departure from Jonesworks, Jones sent a disorganized
strategy outline and includes a veiled threat to Wayfarer, reminding Heath of their contractual
agreement.




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August 14, 2024: A journalist from TMZ contacts Nathan and Abel, requesting comment
regarding “three HR complaints filed against Justin Baldoni on set of ‘It Ends With Us’. That
same day Nathan receives inquiries from reporters about multiple HR complaints from set. This
was not true.




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August 14, 2024: Baldoni sends Abel a TikTok from a creator suggesting that Baldoni is
involved in "something bad." Baldoni is just as confused as the rest of his team about the nature
of this “bombshell.” Abel replies, “That is the question of the century” and reassures him,
saying, “There is no bombshell, as you know,” while confirming that she and the team are
closely monitoring the situation in case a response is needed.




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August 14, 2024: Baldoni texts Nathan seeking clarity on what is happening, what the strategy
is, and how the ongoing "feud" can be resolved. Nathan explains that she spoke with Sloane and
asked her for her perspective on a solution. Nathan observes that when Baldoni “is respectful,
they (Reynolds and Lively) don’t like it,” and when he plays by “their” rules, they still don’t
approve. She questions, “What do they want?” Nathan further clarifies to Baldoni that she left
the matter with Sloane, asking her to indicate what course of action she prefers. Nathan
emphasizes that she is willing to work with Sloan, either collaboratively or to protect Baldoni
and Wayfarer. Until something is leaked or wrongfully put out by Lively’s team, Nathan and her
team will not take further action.




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August 14, 2024: Nathan receives word from a reporter that "Sony chief" Tony Vinciquerra
made a statement about Lively “being an advocate for domestic violence,” with no mention of
Baldoni in the piece. Nathan immediately senses Sloane’s involvement in this development.
However, Abel suggests that it is Reynolds who likely pressured Sony into issuing the statement.




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August 14, 2024: Organic articles come out in response to Lively’s promotion of the Film. See,
e.g., Elyse Wansehl, People Are Disgusted By Blake Lively’s Cutesy Press Tour For ‘It Ends
With Us’ (Aug. 14, 2024), https://www.huffpost.com/entry/blake-lively-press-tour-it-ends-with-
us-backlash_n_66bcf45ee4b03da4fc01cd28; Eboni Boykin-Patterson, Blake Lively Dragged for
Marketing Light of Domestic Violence (Aug. 14, 2024), https://www.thedailybeast.com/blake-
lively-dragged-for-making-light-of-domestic-violence/.




August 15, 2024: More organic articles come out in response to Lively’s promotion of the Film.
See, e.g., Alex Abad-Santos, Why is everyone mad at Blake Lively? (Aug. 15, 2024),
https://www.vox.com/culture/367451/blake-lively-it-ends-with-us-press-tour-controversy
Olivia Craighead, Fans Are Not Impressed with Blake Lively’s Press Tour (Aug. 15, 2024),
https://www.thecut.com/article/blake-lively-it-ends-with-us-press-tour-tone-deaf.html.




August 16, 2024: More organic articles come out in response to Lively’s promotion of the Film.
See, e.g., Carolyn Gevinski, The It Ends With Us promo has failed domestic violence survivors
like me (Aug. 16, 2024), https://www.glamourmagazine.co.uk/article/it-ends-with-us-domestic-
abuse-first-person.



                                             145
August 16, 2024: Nathan receives a message from a reporter about a story from the Daily Mail:
“Could Blake Lively be CANCELLED?” Nathan, realizing that the article could give the
impression of having been planted by her, laments, “Damn this is unfair because it’s also not
me[.]” The reporter responds, “no it totally does look like his side”. Nathan shares a screenshot
of her conversation with the reporter with Abel. The two of them sarcastically joke, “You really
outdid yourself with this one[.]” Nathan responds “That’s why you hired me right?”




                                               146
August 18, 2024: Baldoni again asks Nathan to confirm, “This is not us correct?” Baldoni was
seeing the “feud rumors” and could not believe how much heat Lively was getting. Nathan
reassures him that “[n]one of us would ever do this.” Nathan continues, “[T]here is the struggle
where it’s kind of maybe even unbelievable the way that people are turning against her . . . [it
was] organic she’s blown herself up by her own actions.”




                                               147
August 19, 2024: Angela Yang, Blake Lively’s ‘It Ends With Us” promotion called
‘disrespectful’ by some survivors of abuse (Aug. 19, 2024), https://www.nbcnews.com/pop-
culture/blake-lively-it-ends-with-us-promotion-criticism-rcna167175.




August 19, 2024: Jonesworks chief of staff promises to release Abel’s phone number to her.




                                             148
August 20, 2024: More organic negative press. Arwa Mahdawi, Sorry, Blake Lively: using a
movie about domestic violence to sell stuff is not a good look (Aug. 20, 2024),
https://www.theguardian.com/commentisfree/article/2024/aug/20/blake-lively-it-ends-with-us-
colleen-hoover.




August 21, 2024: On August 21, 2024, two days before her last day, Abel pulls up to the
Jonesworks office in Beverly Hills. There, she is confronted by a physically imposing security
guard, a lawyer sitting at a conference table covered in documents, an IT professional, and Jones’
chief of staff (who had flown in unannounced from New York). Apart from Jones’ chief of staff,
Abel had never seen any of them before. After being ushered into the conference room, Abel
sees that the security guard is posted just outside its doors, blocking the exit. In a menacing and
cold tone, the attorney points to the documents and tells Abel to review and sign them. The
attorney claims that Jonesworks believes she had proprietary information on her personal laptop
and will likely have grounds to sue if Abel does not allow them access.



                                               149
Completely caught off guard by this hostile and intimidating display, Abel falls into a state of
shock. She has never experienced anything like this and does not know what to do. Fearful that
she will burst into tears and humiliate herself (which she knew was what Jones wants), Abel
dissociates. Knowing she has not done anything wrong and desperate to get out of there, Abel
signs the documents without digesting their contents. Afterward, the lawyer demands that Abel
hand over her personal laptop. Abel complies, and the IT professional conducts a search that
turns up nothing. The attorney then presents Abel with a list of approximately 10 documents and
accuses her of having accessed and stolen them. Abel denies having done so, and the IT
specialist conducts a further search of her laptop, which again turns up nothing.

The attorney then instructs Abel to hand over her phone, after which security would escort her
out of the building. Still utterly shell-shocked and desperate to get out of there, Abel agrees to
hand over her phone, so long as they will confirm that Jonesworks will immediately release her
personal cell phone number, allowing Jonesworks to take possession of the physical device
without gaining unrestrained access to its contents. It will also enable Abel to get a new phone
and move on with her life without undue disruption. Abel pleads with Jones to release her
number in a text the following day.




                                                150
August 21, 2024: On the same day that Abel’s phone is seized by her employer, Stephanie
Jones, Nathan receives a call from Leslie Sloane (Lively’s publicist) telling her that she has
“seen her texts” and that she will be sued.




                                                151
                            Melissa Nathan Call Log (Aug 21, 2024)




August 23, 2024: Baldoni sends Nathan a suspicious profile, suspecting it of trolling Lively.
Nathan confirms that “100%...this is NOT anyone from your team whatsoever.”




                                              152
August 24, 2024: Nathan's TAG team continues to see organic backlash towards Lively, without
the involvement of TAG. The article in question: “Blake Lively FEARING for her career amid IT
ENDS WITH US Backlash”




                                            153
August 27, 2024: Nathan further reassures Baldoni that “Everyone I speak to – and so many just
chat[s] that don’t even know I’m on this all, are pro you. I know that’s not your intention either
to make her or anyone an outcast but the sentiment is pro you.” Baldoni responds, “Thank you
for sharing” and “praying for [Lively and Reynolds] has been helpful”.




                                               154
August 30, 2024: The internet continues to churn out new stories. Baldoni asks Nathan how she
feels and if she shares any concerns. Nathan reassures him that “there was no truth to anything-
so what can they say? Just speculative BS? I am not worried and I promise you.”




September 1, 2024: Nathan reveals to Baldoni that she finally watched the Film in theaters. She
shares a touching message with Baldoni. He also shares a personal story that inspired him to
direct the movie and ultimately option the book. Ironically it was this story that Lively chose to
use against him later in her list of 17 points when she required that “There be no discussions with
[Ms. Lively] of personal experiences with sex”. In her Complaint, she intentionally


                                               155
misrepresents the story to suggest that Baldoni had engaged in sexual conduct without consent.
In fact, it was the other way around. Baldoni was referencing an intimate relationship in which
he was the one who did not give consent, not the other way around.




September 8, 2024: Baldoni sends a text to his original editors, hopeful that one day they will
complete the Film as intended.




                                               156
December 20, 2024: Lively files her Complaint with the California Civil Rights Department.

December 20, 2024: Meghan Twohey a reporter for the New York Times, reaches out to
Wayfarer about allegations made by Lively related to a filed CRD complaint. “Please offer any
on-the-record comment, as well as any other information you think we should know.
Additionally, please notify us of any inaccuracies. We need to hear back from you tomorrow by
noon Eastern.




                                             157
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December 20, 2024: At 2:16 a.m. (EST), Wayfarer’s representative responds to the journalist
and unequivocally denied Lively’s accusations.

       It is shameful that Ms. Lively and her representatives would make such serious and
       categorically false accusations against Mr. Baldoni, Wayfarer Studios and its
       representatives, as yet another desperate attempt to ‘fix’ her negative reputation
       which was garnered from her own remarks and actions during the campaign for the
       film; interviews and press activities that were observed publicly, in real time and
       unedited, which allowed for the internet to generate their own views and opinions.
       These claims are completely false, outrageous and intentionally salacious with an
       intent to publicly hurt and rehash a narrative in the media. Wayfarer Studios made
       the decision to proactively hire a crisis manager prior to the marketing campaign of
       the film, to work alongside their own representative with Jonesworks employed by
       Stephanie Jones, due to the multiple demands and threats made by Ms. Lively
       during production which included her threatening to not showing up to set,
       threatening to not promote the film, ultimately leading to its demise during release,
       if her demands were not met. It was also discovered that Ms. Lively enlisted her
       own representative, Leslie Sloan with Vision PR, who also represents Mr.
       Reynolds, to plant negative and completely fabricated and false stories with media,
       even prior to any marketing had commenced for the film, which was another reason
       why Wayfarer Studios made the decision to hire a crisis professional to commence
       internal scenario planning in the case they needed to address. The representatives
       of Wayfarer Studios still did nothing proactive nor retaliated, and only responded
       to incoming media inquiries to ensure balanced and factual reporting and monitored
       social activity. What is pointedly missing from the cherry-picked correspondence
       is the evidence that there were no proactive measures taken with media or
       otherwise; just internal scenario planning and private correspondence to strategize
       which is standard operating procedure with public relations professionals.

December 21, 2024: at 10:11 a.m. (EST) on December 21, 2024, almost two hours before the
deadline given by Twohey for Plaintiffs’ response, the Times published the article entitled “We
Can Bury Anyone’: Inside a Hollywood Smear Machine” (the “Article”).

December 31, 2024: Baldoni and team file lawsuit against the New York Times.

December 31, 2024: Lively files lawsuit against Baldoni and team.

January 7, 2025: Lively attempts to serve Baldoni and team during the Los Angeles wildfires,
going as far as to serve a member of Baldoni’s team while they attempted to evacuate with their
small child.

January 16, 2025: Baldoni and team file suit against Lively, Reynolds, Sloane and Vision PR.

January 24, 2025: Discovery is made that the main imagery used in the Article has meta data
creation timestamps days prior to publication.




                                               161
   •   The main Baldoni image that headlines the article was finalized on December 16, 2024
       https://static01.nytimes.com/newsgraphics/2024-12-16-lively-
       topper/_images/topper/initial.jpg




   •   Additional smear Baldoni imagery existing within the article on December 18, 2024
       https://static01.nyt.com/images/2024/12/18/multimedia/00smear-baldoni-tqmz/00smear-
       baldoni-tqmz-superJumbo.jpg




January 26, 2025: It is determined that the promotional video for the Lively smear campaign
article was finalized on December 12, 2024.
    • The video preload’s static imagery for promotion inside the article itself was created on
        December 17, 2024 <video preload="auto" x-webkit-airplay="allow"
        id="video_1738109173616" playsinline="playsinline" webkit-playsinline="webkit-
        playsinline"


                                              162
    poster="https://static01.nyt.com/images/2024/12/17/autossell/THUMBNAIL-
    1/THUMBNAIL-1-videoSixteenByNineJumbo1600.jpg" style="height: 100%; width:
    100%; position: absolute; top: 0px; left: 0px;"
    src="blob:https://www.nytimes.com/88bf31e2-3886-49ba-9741-




    85d01eb50424"></video>
•   The schema for the video page also confirms a December 12, 2024 finalization and
    upload date
    {"@context":"https://schema.org","@type":"VideoObject","@id":"https://www.nytimes.
    com/video/arts/100000009874263/the-waging-of-an-alleged-smear-campaign-against-
    blake-lively.html","description":"The movie “It Ends With Us” starring Blake Lively was
    a huge box office hit, even as rumors spread of turmoil behind the scenes. Private
    messages detail a campaign to tarnish Lively after she accused Justin Baldoni of
    misconduct on set. Megan Twohey, an investigative reporter at The New York Times,
    explains.","url":"https://www.nytimes.com/video/arts/100000009874263/the-waging-of-
    an-alleged-smear-campaign-against-blake-lively.html","inLanguage":"en","name":"The
    Waging of an Alleged Smear Campaign Against Blake
    Lively","thumbnailUrl":["https://static01.nyt.com/images/2024/12/17/autossell/THUMB
    NAIL-1/THUMBNAIL-1-
    videoSixteenByNineJumbo1600.jpg","https://static01.nyt.com/images/2024/12/17/autoss
    ell/THUMBNAIL-1/THUMBNAIL-1-
    superJumbo.jpg","https://static01.nyt.com/images/2024/12/17/autossell/THUMBNAIL-
    1/THUMBNAIL-1-
    mediumSquareAt3X.jpg"],"publisher":{"@context":"https://schema.org","@type":"Orga
    nization","name":"The New York
    Times","logo":{"@context":"https://schema.org","@type":"ImageObject","url":"https://st
    atic01.nyt.com/images/icons/t_logo_291_black.png","height":291,"width":291,"contentU
    rl":"https://static01.nyt.com/images/icons/t_logo_291_black.png","creditText":"The New
    York
    Times"},"url":"https://www.nytimes.com/"},"isPartOf":{"@type":["CreativeWork","Pro
    duct"],"name":"The New York
    Times","productID":"nytimes.com:basic"},"embedUrl":"https://www.nytimes.com/video/
    players/offsite/index.html?videoId=100000009874263","contentUrl":"https://vp.nyt.com/
    video/2024/12/12/130938_1_00vid-rv-bl-


                                          163
       investigation_wg_480p.mp4","uploadDate":"2024-12-
       21T18:26:09.603Z","duration":"PT4M29S"}




January 27, 2025: The Wayfarer Parties found 41 instances of a October 31, 2024 timestamp
related to text message storage and styling into Birdkit, which are believed to be the content
management system (CMS) for the Times.
             • <link rel="modulepreload"
                href="https://static01.nytimes.com/newsgraphics/2024-10-31-message-embed-


                                              164
               generator/9bb06232-7897-46f7-8a79-
               9f19037ab08a/_assets/_app/immutable/chunks/scheduler.CPBLf4dL.js">
       On information and belief, the 2024-10-31 does not correspond to the message embed
       generator versioning itself, but rather when they may have been embedded into the CMS
       for future use in an article. Previous articles show a similar pattern:
           • https://www.nytimes.com/interactive/2024/10/17/opinion/dobbs-roe-abortion-
               stories.html was published on October 17, 2024 with Birdkit timestamp for the
               text messages of August 9, 2024.
           • https://www.nytimes.com/2023/05/03/books-review/tucker-carlson-text-message-
               whiteness.html was published on May 3, 2023 with Birdkit timestamp for the text
               messages of April 14, 2023.




January 28, 2024: It is confirmed that the PDF version of the CRD filed by Lively was indexed
on New York Times’ domain on December 10, 2024. This does not necessarily represent the
first time that the file was indexed by Google, just that it was indexed on this date. In order to
accurately determine the first indexation, data would be required from the New York Times
Google search console account.
     • “Site:*.nyt.com Baldoni” is the query performed to find the PDF in Google, which shows
         all subdomain and main website results that reference ‘Baldoni;
     • https://www.google.com/search?q=site%3A*.nyt.com+baldoni




                                               165
January 29, 2025: After performing a deeper analysis, the following was found:
   • The JSON schema exposes the smear promo imagery was set for consumption at the end
      webpage level on December 18, 2024. In the highlighted images there is a reference to
      smear-promo-Google which means that object’s imagery was intended to be consumed
      most likely as either Google News direct feed OR as a Google Adwords ad unit. There
      are also multiple versions of these images. The v2 and v3 suggests they went through
      multiple iterations before arriving at what could be used on December 18th.
          o {"@context":"https://schema.org","@type":"NewsArticle","@id":"https://www.n
              ytimes.com/2024/12/21/business/media/blake-lively-justin-baldoni-it-ends-with-


                                            166
           us.html","description":"Private messages detail an alleged campaign to tarnish
           Blake Lively after she accused Justin Baldoni of misconduct on the set of “It Ends
           With Us.”
           ","image":[{"@context":"https://schema.org","@type":"ImageObject","url":"https
           ://static01.nyt.com/images/2024/12/18/multimedia/00smear-promo/00smear-
           promo-videoSixteenByNineJumbo1600-
           v2.jpg","height":900,"width":1600,"contentUrl":"https://static01.nyt.com/images/
           2024/12/18/multimedia/00smear-promo/00smear-promo-
           videoSixteenByNineJumbo1600-v2.jpg","creditText":"IllustrationbyNajeebahAl-
           Ghadban"},{"@context":"https://schema.org","@type":"ImageObject","url":"http
           s://static01.nyt.com/images/2024/12/18/multimedia/00smear-promo/00smear-
           promo-googleFourByThree-
           v2.jpg","height":600,"width":800,"contentUrl":"https://static01.nyt.com/images/2
           024/12/18/multimedia/00smear-promo/00smear-promo-googleFourByThree-
           v2.jpg","creditText":"Illustration by NajeebahAl-
           Ghadban"},{"@context":"https://schema.org","@type":"ImageObject","url":"http
           s://static01.nyt.com/images/2024/12/18/multimedia/00smear-promo/00smear-
           promo-mediumSquareAt3X-
           v3.jpg","height":1802,"width":1800,"contentUrl":"https://static01.nyt.com/images
           /2024/12/18/multimedia/00smear-promo/00smear-promo-mediumSquareAt3X-
           v3.jpg","
       o Preloaded JavaScript for the Lively header image <link rel="modulepreload"
           as="script"crossorigin=""href="https://static01.nytimes.com/newsgraphics/2024-
           12-16-lively-topper/addc97ba-86a6-42a5-b1ea-
           31572ce283f7/_assets/_app/immutable/nodes/1.DYJTqov0.js">
•   The interactive topper for the appears to have been finalized on December 16, 2024
       o <link rel="modulepreload"
           href="https://static01.nytimes.com/newsgraphics/2024-12-16-lively-
           topper/addc97ba-86a6-42a5-b1ea-
           31572ce283f7/_assets/_app/immutable/entry/start.D5WakA7s.js"><link
           rel="modulepreload"href="https://static01.nytimes.com/newsgraphics/2024-12-
           16-lively-topper/addc97ba-86a6-42a5-b1ea-
           31572ce283f7/_assets/_app/immutable/chunks/entry.Dl6yHT4n.js">
       o <linkrel="modulepreload"href="https://static01.nytimes.com/newsgraphics/2024-
           12-16-lively-topper/addc97ba-86a6-42a5-b1ea-
           31572ce283f7/_assets/_app/immutable/chunks/scheduler.DbTKtulb.js"><divid="
           g-2024-12-16-lively-topper"class="birdkit-bodyg-2024-12-16-lively-topperg-
           dark-mode-compatible"data-preview-slug="2024-12-16-lively-topper"data-
           birdkit-hydrate="fd78541ba0cd3a2a">
•   Multimedia sources timestamped December 18, 2024
       o <source media="(max-width: 599px) and (min-device-pixel-ratio: 3),(max-width:
           599px) and (min-resolution: 3dppx),(max-width: 599px) and (min-resolution:
           288dpi)"
           srcset="https://static01.nyt.com/images/2024/12/18/multimedia/00smear-baldoni-
           tqmz/00smear-baldoni-tqmz-




                                          167
  mobileMasterAt3x.jpg?quality=75&amp;auto=webp&amp;disable=upscale&amp
  ;width=1800">
o <source media="(max-width: 599px) and (min-device-pixel-ratio: 2),(max-width:
  599px) and (min-resolution: 2dppx),(max-width: 599px) and (min-resolution:
  192dpi)"
  srcset="https://static01.nyt.com/images/2024/12/18/multimedia/00smear-baldoni-
  tqmz/00smear-baldoni-tqmz-
  mobileMasterAt3x.jpg?quality=75&amp;auto=webp&amp;disable=upscale&amp
  ;width=1200">
o <source media="(max-width: 599px) and (min-device-pixel-ratio: 1),(max-width:
  599px) and (min-resolution: 1dppx),(max-width: 599px) and (min-resolution:
  96dpi)" srcset="https://static01.nyt.com/images/2024/12/18/multimedia/00smear-
  baldoni-tqmz/00smear-baldoni-tqmz-
  mobileMasterAt3x.jpg?quality=75&amp;auto=webp&amp;disable=upscale&amp
  ;width=600">




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